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Attorneys For Defendant Triangle Tube/Phase III Co., Inc.

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF WYOMING

FRANCISCO L. HERRERA, and JOANNA
HERRERA, CO-WRONGFUL DEATH REPRE-
SENTATIVES, for the exclusive benefit

of the beneficiaries of MONICA HERRERA,
deceased, who have sustained damages from her
wrongfully caused death,

Plaintiffs,
Case No. 15-CV-128-F
vs.

GREGORY BUCKINGHAM and DEBORAH
BUCKINGHAM, but in their individual

capacities as Trustees of the BUCKINGHAM
FAMILY TRUST; and, GREGORY BUCKINGHAM
and DEBORAH BUCKINGHAM, as

individual defendants; and, WYOMING
MECHANICAL, INC., a Wyoming Corporation;
TRIANGLE TUBE/PHASE III CO., INC.,

a New Jersey Corporation; and, M&G

DURAVENT, INC., a New York Corporation,

Nee Ne ee ee ee ee ee ee ee ee ee ee ee Oe Se eS eS

Defendants.

 

NOTICE OF SERVICE

 

 
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COMES NOW, Triangle Tube/Phase III Co., Inc. certifies that the Order to Show Cause Why
Plaintiffs’ Counsel David Lewis and Expert Witness Dr. Bernard Cuzzillo Should Not Be Held in
Contempt of Court for Violation of Protective Orders was served as directed.

DATED this 13" date of January, 2020.

/s/ Judith A. Studer, Attorney No. 5-2174
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This is to certify that on the 4g day of Yanua ry , 2020, the undersigned served the
within and foregoing ORDER TO SHOW CAUSE WHY PLAINTIFFS’ COUNSEL DAVID

LEWIS AND EXPERT WITNESS DR. BERNARD CUZZILLO SHOULD NOT BE HELD IN
CONTEMPT OF COURT FOR VIOLATION OF PROTECTIVE ORDERS upon the following:

David Lewis

P. O. Box 8519

Jackson, Wyoming 83002
davelewis@bresnan.net

Dr. Bernard Cuzzillo Dr. Bernard Cuzzillo
Berkeley Research Company 1214 Bear Creek Drive
600 Addison Street Briones, CA 94553-9750

Berkeley, California 94710
(last known business address)

via the Court’s ECF filing system for counsel, and via Certified First Class U.S. Mail, to Dr. Bernard
Cuzzillo at his last known business address and residence (upon information and belief).

/s/
Judith A.W. Studer
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United States District Court 1:31 pm, 1/13/20

For the District of Wyoming

U.S. Magistrate Judge

 

FRANCISCO L. HERRERA and JOANNA
HERRERA, CO-WRONGFUL DEATH
REPRESENTATIVES, for the exclusive
benefit of the beneficiaries of MONICA
HERRERA, deceased, who have sustained
damages from her wrongfully caused death,

Plaintiffs,
vs.

GREGORY BUCKINGHAM and
DEBORAH BUCKINGHAM, et. al,

Defendants.

 

Civil No. 15-CV-128-NDF

 

ORDER TO SHOW CAUSE WHY PLAINTIFFS’ COUNSEL DAVID LEWIS
AND EXPERT WITNESS DR. BERNARD CUZZILLO SHOULD NOT BE HELD
IN CONTEMPT OF COURT FOR VIOLATION OF PROTECTIVE ORDERS

 

This matter is before the Court on Triangle Tubes’ Motion for Order to Show cause

why Plaintiffs’ Counsel David Lewis and Expert Witness Dr. Bernard Cuzzillo Should Not

be Held in Contempt of Court for Violation of Protective Orders [Doc. 199]. This case

came before the Court on Plaintiffs’ Complaint [Doc. 1] filed on August 5, 2015,

containing causes of action for wrongful death. The case was terminated on March 29,

2017. On December 20, 2019, Triangle Tube filed the instant Motion. Therefore, any

response was due fourteen days later or by January 3, 2020. To date, neither David Lewis

nor Dr. Bernard have responded.

Accordingly, the Court orders Plaintiffs’ counsel David Lewis and/or Dr. Bernard
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to show cause, on or before January 22, 2020, why Triangle Tubes’ Motion for Order to
Show cause why Plaintiffs’ Counsel David Lewis and Expert Witness Dr. Bernard Cuzzillo
Should not be Held in Contempt of Court for Violation of Protective Orders [Doc. 199]
should not be granted. This Order shall be served via the Court’s ECF filing system and
via Certified First-Class U.S. Mail to both David Lewis at his business address, and to Dr.
Bernard Cuzzillo at both his last known business address and personal residence.

Dated this 13th day of January, 2020.

Fax, pare

Kelly H. Rankin
United States Magistrate Judge

 
